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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                        Plaintiff(s),              CASE NUMBER: 05-80025
                                                   HONORABLE VICTORIA A. ROBERTS
 v.

 D-1 TIMOTHY DENNIS O’REILLY,

                 Defendant(s).
 _________________________________/

           ORDER DENYING WITHOUT PREJUDICE DEFENDANT’S
 MOTION TO EXCLUDE THE TESTIMONY AND RECORDING OF BARRON NIX-BEY

 I.        INTRODUCTION

           This matter is before the Court on Timothy O’Reilly’s “Motion to Exclude the

 Testimony and Recording of Barron Nix-Bey Due to the Prosecution’s Failure to Obtain

 and/or Retain Exculpatory Evidence from Him.” (Doc. #492). O’Reilly says the

 Government’s failure to obtain the notes Nix took regarding conversations he had with

 O’Reilly violates Brady v. Maryland, 373 U.S. 83 (1963); the Jencks Act, 18 U.S.C.

 §3500; and his Fifth, Sixth, and Eighth Amendment rights. An Evidentiary Hearing was

 held on July 9, 2010. (At the hearing, Mr. Nix informed the Court that he no longer uses

 the name “Nix-Bey.” Except where he is quoted, references in this Order will be to

 “Nix.”)

           O’Reilly says the Court must exclude Nix’s testimony, the audio recording of a

 conversation Nix had with O’Reilly, and the transcript of the recording.

           The Court finds O’Reilly abandoned his Eighth Amendment argument. While he



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 mentions that his Eighth Amendment rights were violated, he does not expand on that

 argument.

        O’Reilly’s motion is DENIED.

 II.    BACKGROUND

        On February 6, 2004, O’Reilly began serving a two-year sentence at the Ryan

 Correctional Facility (“RCF”) for possession of firearms. Eventually, Nix and O’Reilly

 became cell mates.

        On July 25, 2004, Nix wrote a letter to the Detroit Police Department (“DPD”). He

 stated he overheard O’Reilly tell another inmate that he participated in the Dearborn

 Federal Credit Union (“DFCU”) robbery/murder and other armored car robberies. The

 DPD forwarded the letter to FBI Special Agent Barry Higginbotham, who received the

 letter on August 6, 2004. Nix testified that this letter incorporated the one page of notes

 he took regarding O’Reilly’s alleged involvement in the DFCU robbery/murder.

        On August 10, 2004, Special Agent Angela N. Ryan and SA Higginbotham

 interviewed Nix at RCF. Nix said O’Reilly told him his cousin killed Norman Anthony

 Stephens during the DFCU robbery/murder. Nix requested to continue to confidentially

 report his conversations with O’Reilly to the FBI. SA Higginbotham asked Nix to be a

 good, active listener, and to take notes of the conversations, if possible. SA

 Higginbotham testified that he asked Nix to take notes for his own purposes only, so

 that he could refresh his memory and accurately convey information to SA

 Higginbotham when they spoke. Nix continued to take notes of information O’Reilly

 provided.

        On September 2, 2004, SA Ryan, SA Higginbotham, and Special Agent Kerry F.

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 McCafferty interviewed Nix at the DPD. Nix said O’Reilly told him O’Reilly shot

 Stephens because he tried to draw his gun, and O’Reilly believed Kevin Watson fired

 the fatal shot into Stephens, which also tore up Stephens’ hand.

       In a letter to SA Higginbotham that should have been dated September 2, 2004,

 but was incorrectly dated August 2, 2004, Nix says:

       you stated [I] basically hav’nt[sic] told you anything that you didn’t no[sic]
       and you would need some hard evidence before you contact the Parole
       Board on my behalf[.]

       Mr. Higginbotham, [I] contacted you because the subject keep[sic]
       bragging about it and if it was true [I] figure[d] it would be a break through
       for you and I could be awarded, for suppling[sic] the information to you but
       so far, it was been the opposite[.]
                                         .      .    .

       Since we started this, I have supplied you with information as he tells me,
       not what [I] make up. . . . I told you that [I] can get any information out of
       him that will help you in his conviction, without him suspecting anything
       because he tell[s] me anything [I] want to know, well basically everything
       and you tell me, by putting a[n] effort to get him on tape and all what [I]
       gave you so far, is not good enough for you to notified[sic] the Parole
       Board?

       I though[t] the first step in this kind of relationship was trust.

                                          .     .    .

       I know [I] can get him to say he kill[ed] the guard, who was all with him,
       who did what, what did he do wit[h] his shotgun and etc.

       I know [I] can do my part, what about you.

       On September 14, 2004, Nix called SA Higginbotham, and told him that O’Reilly

 said he shot Stephens twice while Stephens was standing, but that Watson shot

 Stephens when he tried to get up from the pavement. This is the same shot that

 severely damaged Stephens’ hand.


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       Nix had a second conversation with SA Higginbotham on September 14, 2004 in

 which he supplied him additional information about the DFCU robbery/murder, after Nix

 checked his notes.

       SA Higginbotham and Assistant United States Attorney Diane L. Marion

 debriefed and interviewed Nix on September 22, 2004. Nix said O’Reilly bragged about

 firing a 12-gauge Mossberg shotgun twice during the DFCU robbery/murder, and said

 Watson fired a shotgun round which killed Stephens.

       On October 25, 2004, Nix called SA Higginbotham and gave him additional

 information, but on November 15, 2004, Nix told SA Higginbotham he checked his notes

 concerning conversations with O’Reilly, and realized he provided SA Higginbotham

 erroneous information on October 25th.

       On December 6, 2004, SA Higginbotham and Special Agent Christopher J. Hess

 debriefed and interviewed Nix at the Macomb Correctional Facility (“MCF”), where Nix

 had been transferred. Nix was advised that pursuant to his request to cooperate, Nix

 should attempt to re-establish a relationship with O’Reilly when O’Reilly arrived at MCF,

 and get O’Reilly to make incriminating statements concerning O’Reilly’s participation in

 the DFCU robbery/murder. Nix agreed to use his prison radio that was electronically

 altered by the FBI, to record conversations with O’Reilly. None of his previous

 conversations with O’Reilly had been recorded.

       On December 6, 2004, Nix called SA Higginbotham and provided him still more

 information about the DFCU robbery/murder.

       O’Reilly arrived at MCF on December 8, 2004. On either December 13, 2004 or

 December 14, 2004, O’Reilly and Nix spoke at a picnic table in the prison yard. It was

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 then that O’Reilly made the incriminating statements that Nix recorded:

 Bey:         Let me ask you this. You don’t feel. Now you, you a killer so you don’t
              feel the amosity[sic]. I’m sayin’, but you don’t feel anything by, what ya’ll,
              you and Kevin shot that guard, you don’t feel no kinda loyalty to say . . .

 O’Reilly:    See it’s, it’s what has happened. His action caused by reaction.

 Bey:         What do you mean his action?

 O’Reilly:    His action to reach for his gun.

 Bey:         Huh?

 O’Reilly:    When we came up, we’re like, get the fuck down. The other guy tossed
              his gun, and laid flat, right?

 Bey:         Okay.

 O’Reilly:    He was okay, we didn’t fuck with him.

 Bey:         (Laughs)

 O’Reilly:    All right? This guy went to reach it, so we started blastin’ him, right?

                                        .     .    .

 Bey:         Okay I understand, him or you, but, you, you said that you, at first, you
              shot him two times, right, and he fell to the ground. He, he was goin’ to
              the ground and like he was reachin’, he went to the ground.

 O’Reilly:    Yeah.

 Bey:         And you shot him two time[s].

 O’Reilly:    Again, he, he tried to reach again, he wasn’t trying to grab his wound or
              anything, he tried to reach again for the other gun.

 Bey:         Okay but you shot him two times, okay, and he fell to the ground. What
              made Kevin shoot him?

 O’Reilly:    No Kevin, Kevin shot him first when he went to the ground.

 Bey:         Oh Kevin shot him when he first went to the ground and you turn around.


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 O’Reilly:    And then he tried to reach again so I just followed up, I opened right up.

 Bey:         (Laughs) So Kevin shot him the first time then, you shot and he followed
              up and shot him first time.

 O’Reilly:    And he died because of complications.

                                         .     .    .

 O’Reilly:    He chose that. He chose his route.

 Bey:         How could somebody chose[sic] to die, man?

 O’Reilly:    He reached for his gun.

 Bey:         Okay but say no [sic].

 O’Reilly:    Hey, someone said to you, and say get the fuck on the ground and they
              got a gun.

 Bey:         Uh huh

 O’Reilly:    You get the fuck on the ground. You might live.

 Bey:         Uh huh.

 O’Reilly:    But, if you resist, and try to reach for a weapon.

 Bey:         So.

 O’Reilly:    They gonna blast you.

 Bey:         Okay, do the thing, he resisted, and get on the ground and give up the
              money, whatever, that made ya’ll say fuck (unintelligible) so you chose.
              So you sayin’, you decide who live or die, then, that what you sayin’ right?
              At that point, you decided who lives or die right?

 O’Reilly:    I didn’t decide he was gonna die. I decided I was gonna shoot him.

 Bey:         Okay, you shot him and killed him.

 O’Reilly:    Ain’t the first time and it won’t be the last (laughs).

        Nix informed SA Higginbotham that the recording was successful. SA


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 Higginbotham and SA McCafferty obtained Nix’s radio from MCF and sent it to the FBI

 in Detroit. The FBI did not take possession of Nix’s notes.

        On May 2, 2010, defense counsel asked the Government to produce all of Nix’s

 notes. Following this request, the FBI interviewed Nix. Nix told them that he was

 instructed by SA Higginbotham to take notes regarding O’Reilly and the crimes he

 allegedly committed, which Nix did until he made the December 2004 recording. Nix

 says his notes included names, dates, specifics of the crimes committed, and anything

 else to do with O’Reilly. Nix says he used all of the information in his notes to write a

 letter, but he does not remember what he did with the notes. Nix indicated he would

 look for his notes. He informed Special Agent Todd C. Reineck on May 10, 2010, that

 he could not find them.

        In all, it appears that Nix had four meetings with FBI agents by the end of

 December 2004, four telephone communications, and sent two letters. FBI Reports

 were filed in connection with all of the meetings and telephone calls.

        Nix’s present memory was demonstrated to be sorely lacking at the hearing on

 July 9, 2010. He adopted all of the information in the FD-302s. He testified that he had

 read them on July 8, 2010, they accurately reflect what he told SA Higginbotham in

 2004, and they contain everything that was in his own notes.

 III.   APPLICABLE LAW AND ANALYSIS

        A.     BRADY VIOLATION

        “[A] Brady violation may . . . occur when the prosecution fails to disclose

 exculpatory material in response to a pretrial motion. The violation may take place at



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 that time, but Brady may be invoked only when the trial has been completed.” United

 States v. Short, 671 F.2d 178, 187 (6th Cir. 1982); see also United States v. Moore, 439

 F.2d 1107, 1108 (6th Cir. 1971) (“Brady was never intended to create pretrial remedies”

 (citation omitted). Accordingly, O’Reilly’s Brady argument is premature.

        Assuming O’Reilly’s Brady argument could be addressed at this juncture, Brady

 requires the Government to disclose exculpatory and impeachment evidence that is

 “material either to guilt or to punishment.” Strickler v. Greene, 527 U.S. 263, 280 (1999)

 (quoting Brady, 373 U.S. at 87).

        There are three components of a true Brady violation: The evidence at
        issue must be favorable to the accused, either because it is exculpatory,
        or because it is impeaching; that evidence must have been suppressed by
        the State, either willfully or inadvertently; and prejudice must have ensued.

 Strickler, 527 U.S. at 281-82. “The defendant has the burden of proving a Brady

 violation.” Butler v. Renico, 2007 WL 579533 at **4 (6th Cir. Feb. 20, 2007) (citing

 Carter v. Bell, 218 F.3d 581, 601 (6th Cir. 2000)).

        While the Government will call Nix as a witness during the guilt phase, and will

 seek to admit the audio recording during that phase, O’Reilly seems to concede this

 evidence, and Nix’s notes, are not material to his guilt. See O’Reilly’s Reply to the

 Government’s Supplemental Response, p.3 (“the evidence of guilt is overwhelming

 without Nix-Bey’s testimony and tape”); O’Reilly’s Reply in Response to the

 Government’s Position Regarding a Letter from Baron[sic] Nix-Bey to the FBI, p.1 (“this

 evidence might not influence the guilt innocence verdict”); O’Reilly’s Response to the

 Court’s Request for Supplemental Briefing, p.9 (“the audiotape created by Government

 agent Nix-Bey is not crucial to the Government’s case on guilt”).


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        So, the question is whether Nix’s notes are material to his punishment. On this,

 the Court makes the following findings: (1) O’Reilly did not meet his burden to

 demonstrate that Nix’s notes are favorable to him; (2) Nix was a government agent for

 Brady purposes; (3) the Government had a duty to obtain Nix’s notes; and (4) without

 hearing all the evidence, the Court cannot know with certainty whether O’Reilly will be

 prejudiced by the Government’s inability to produce Nix’s notes.

               1.     Are Nix’s Notes Favorable to O’Reilly?

        Nix’s notes are favorable to O’Reilly, if they contain exculpatory information, or if

 they undermine Nix’s credibility. See Strickler, 527 U.S. at 282.

        O’Reilly says Nix’s notes contain exculpatory information because they reflect the

 manner in which Nix’s story shifted over time to satisfy the Government’s needs, and

 they detail the inconsistences in what O’Reilly told Nix. However, Nix’s testimony did

 not bear this out. He recalled his notes were brief, not more than a couple of pages,

 contained no content other than what O’Reilly told him, and nothing beyond names,

 dates, and crime details. This is information that may be more inculpatory, rather than

 exculpatory. O’Reilly provided no evidence to the contrary.

        O’Reilly made no showing that Nix’s notes contained information favorable to

 him. Without anything more than his speculation, it appears that O’Reilly cannot meet

 his burden on this first prong.

        Nonetheless, the Court addresses the remaining prongs of a Brady violation.

               2.     Were the Notes Suppressed by the Government?

        “[T]he individual prosecutor has a duty to learn of any favorable evidence known



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  to the others acting on the government’s behalf in the case[.]” Kyles v. Whitley, 514

  U.S. 419, 437 (1995). If the Government withholds evidence within its control, the

  suppression prong of Brady is met. See United States v. Graham, 484 F.3d 413, 417

  (6th Cir. 2007).

         To determine whether Nix was a government agent, and therefore, whether the

  Government had a duty to collect Nix’s notes, the Court looks at the control that the

  Government had over him. See id. at 417-18; see also United States v. Li, 55 F.3d 325,

  328 (7th Cir. 1995)). An individual acting on his own initiative is not a government

  agent. See United States v. Malik, 680 F.2d 1162, 1165 (7th Cir. 1982).

         While Nix acted on his own initiative when he wrote the July 25, 2004 letter, his

  status morphed into government agent beginning August 10, 2004, when the

  Government told Nix to be a good, active listener; and, to take notes of conversations

  he had with O’Reilly. Nix’s September 2, 2004 letter (incorrectly dated as August 2,

  2004) is further evidence that Nix was under the Government’s control. In it, he

  attempted to satisfy the Government so the Government would contact the Parole

  Board on his behalf. From this letter, it appears there had been a “quid pro quo”

  discussion between Nix and SA Higginbotham, and SA Higginbotham told Nix he

  needed “hard evidence.” Finally, on December 6, 2004, the Government told Nix to re-

  establish a relationship with O’Reilly, and get him to make incriminating statements.

  The Government transformed Nix’s prison radio into a recording device to assist him in

  this task. The FBI also paid for Nix’s transitional housing in 2005, after his release from

  prison, approximately $200 per month for several months. The Government did, in fact,

  write a letter to the Parole Board on his behalf on February 2, 2005.

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         The Court acknowledges that in its February 1, 2008 Order, it held that Nix was

  not a government agent for Fifth and Sixth Amendment purposes. See Doc. #310.

  That ruling does not change. At the time Nix made the recording, O’Reilly was not

  under indictment, which would have triggered Sixth Amendment protections. He also

  was not in custody, speaking to someone he knew to be a government agent, which

  would have triggered Fifth Amendment protections. Whether Nix was an agent for

  Brady purposes was not before the Court in 2008.

         To the extent O’Reilly still claims his recording must be suppressed because of a

  Fifth or Sixth Amendment violation, the Court declines this request.

         The Court otherwise finds that Nix was a government agent when the recording

  was made, and the Government had an obligation to ascertain if there was anything

  favorable to O’Reilly in Nix’s notes.

                3.     Will O’Reilly be Prejudiced by the Government’s Inability to
                       Produce Nix’s Notes?

         “[F]avorable evidence is material, and constitutional error results from its

  suppression by the government, ‘if there is a reasonable probability that, had the

  evidence been disclosed to the defense, the result of the proceeding would have been

  different.’” Kyles, 514 U.S. at 433 (quoting United States v. Bagley, 473 U.S. 667, 682

  (1985)).

         The question is not whether the defendant would more likely than not have
         received a different verdict with the evidence, but whether in its absence
         he received a fair trial, understood as a trial resulting in a verdict worthy of
         confidence. A “reasonable probability” of a different result is accordingly
         shown when the government’s evidentiary suppression “undermines
         confidence in the outcome of the trial.”

  Kyles, 514 U.S. at 434 (quoting United States v. Bagley, 473 U.S. 667, 678 (1985)).

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         O’Reilly says the audio recording and transcript are the only evidence the

  Government has to support one of the non-statutory aggravating factors listed in the

  Notice of Intent to Seek the Death Penalty: “Defendant shot Norman Stephens from

  behind, and while Stevens[sic] was already wounded and on the ground.” O’Reilly says

  the documents provided in discovery show O’Reilly told Nix, that Watson killed

  Stephens, and that this conflicts with the audio recording. O’Reilly says Nix’s notes may

  contain additional inconsistencies that rebut the Government’s non-statutory

  aggravating factor, and lead to a reasonable probability that O’Reilly will receive a life

  sentence rather than the death penalty.

         The Court heard some, but not all, of the evidence that may come out at trial on

  this issue. Prejudice has not yet been established.

         Assuming a penalty phase is necessary, and assuming O’Reilly receives the

  death penalty, without hearing all the evidence that both sides will present at the penalty

  phase, the Court cannot determine with certainty whether the Government’s inability to

  produce Nix’s notes will undermine confidence in the penalty phase. The Court cannot

  know now, whether O’Reilly will receive the death penalty, and what, if any, aggravating

  factors the jury may find beyond a reasonable doubt.

         However, O’Reilly is in the best position to know what he told Nix during their

  conversations, and he does not allege or present any evidence that his conversations

  with Nix included additional inconsistencies, including different accounts of how

  Stephens was killed. More importantly, O’Reilly has documents to rebut the

  Government’s claim that O’Reilly killed Stephens; he certainly can use those to argue in

  favor of a sentence of life without parole.

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         As stated at the outset, Brady can only be invoked when trial is complete.

  O’Reilly’s Brady challenge is denied without prejudice.

         B.     VIOLATION OF THE JENCKS ACT

         There can be no Jencks Act violation now; the “clear and consistent” rule of the

  Sixth Circuit is that the Government may not be compelled to disclose Jencks Act

  material before trial. United States v. Presser, 844 F.2d 1275, 1283 (6th Cir. 1988)

  (citations omitted). “[N]o statement . . . in the possession of the United States which

  was made by a Government witness . . . shall be the subject of subpoena, discovery, or

  inspection until said witness has testified on direct examination in the trial of the case.”

  18 U.S.C. §3500(a).

         Nonetheless, the Court addresses whether, after Nix testifies, the Government’s

  already stated inability to produce Nix’s notes, and certain FD-302s, will constitute a

  violation of the Jencks Act.

                1.      Nix’s Notes

         18 U.S.C. §3500(b) says:

         After a witness called by the United States has testified on direct
         examination, the court shall, on motion of the defendant, order the United
         States to produce any statement . . . of the witness in the possession of
         the United States which relates to the subject matter as to which the
         witness has testified.

         The Government says it will call Nix not only to lay a foundation for the audio

  recording, but also to testify about conversations he had with O’Reilly before the audio

  recording was made. Questions raised are: (1) whether Nix’s notes qualify as

  “statements” under the Jencks Act; (2) whether Nix’s notes were in the “possession of



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  the United States”; and (3) what remedy the Court should impose.

         The term “statement” . . . in relation to any witness called by the United States,
         means[] a written statement made by said witness and signed or otherwise
         adopted or approved by him[.]

  18 U.S.C. §3500(e)(1).

         O’Reilly is concerned about Nix’s own statements in his notes, rather than

  O’Reilly’s statements. However, Nix’s testimony is that his notes only contained

  O’Reilly’s statements. In addition, at the hearing, Nix adopted the entirety of the FD-

  302s as his statements. If he is to be believed, there is no Jencks Act violation, since

  the FD-302s have all been produced.

         The Court need not address the other elements of a possible Jencks Act

  violation.

                2.     FD-302s From Meetings Between July 25, 2004 and August 2,
                       2004

         Nix wrote a letter to SA Higginbotham dated August 2, 2004. The letter says, “I

  have just return[ed] from our visit and there was[sic] a few things I wanted to mention

  but due[] to the time we had, I didn’t get to them.”

         Based on this letter, O’Reilly says there are FD-302s from meetings FBI agents

  had with Nix between July 25, 2004 and August 2, 2004, which constitute Jencks

  material, that the Government has not disclosed.

         At the end of the letter dated August 2, 2004, Nix says: “P.S. I saw the Parole

  Board on Aug. 25, 2004.” The Court finds the August 2, 2004 letter is mis-dated, the

  letter should have been dated September 2, 2004, and there are no missing FD-302s.




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  IV.     CONCLUSION

          O’Reilly’s motion is DENIED WITHOUT PREJUDICE, since the Brady violation

  can only be asserted post-trial, and a violation of the Jencks Act can only be asserted

  after the witness testifies on direct examination.

          O’Reilly made a Confrontation Clause argument at the hearing. He said that if

  the Court excludes Mr. Nix’s testimony, O’Reilly will be deprived of his ability to cross-

  examine Mr. Nix on the audio recording. See Crawford v. Washington, 541 U.S. 36

  (2004). Since the Court declines to exclude Mr. Nix’s testimony, this argument is moot.

          IT IS ORDERED.


                                                   s/Victoria A. Roberts
                                                   Victoria A. Roberts
                                                   United States District Judge

  Dated: July 9, 2010

   The undersigned certifies that a copy of this
   document was served on the attorneys of
   record by electronic means or U.S. Mail on
   July 9, 2010.

   s/Linda Vertriest
   Deputy Clerk




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